
JUSTICE BURKE, dissenting:
¶ 1 The order entered in this matter states that the petition for leave to appeal is "denied." From this, one would assume that a majority of this court has concluded that the petition does not meet the criteria for discretionary review under Illinois Supreme Court Rule 315 (eff. July 1, 2018) and has, therefore, voted to deny the petition. However, this is not the case. In fact, there is no majority: three justices have voted to allow the petition, two justices have voted to deny, and two justices are not participating.
¶ 2 Petitions for leave to appeal are subject to the rule, under article VI, section 3, of the Illinois Constitution of 1970, that four votes are necessary for a decision from this court. PHL, Inc. v. Pullman Bank &amp; Trust Co., 181 Ill. 2d 575, 235 Ill.Dec. 666, 705 N.E.2d 849 (1998). Because there are neither four votes to grant nor to deny the petition for leave to appeal, the appropriate disposition under our constitution is to dismiss the petition without decision, not to deny it. Id. ; see also *872Perlman v. First National Bank of Chicago, 60 Ill. 2d 529, 331 N.E.2d 65 (1975). The dismissal of the petition would leave in place the lower court's decision but would be of no precedential value. Perlman, 60 Ill. 2d at 530, 331 N.E.2d 65.
¶ 3 The court makes no attempt to reconcile its disposition in this matter with PHL, Inc. Because the order entered in this matter does not accurately reflect the votes cast by the members of this court and because the order violates article VI, section 3, of the Illinois Constitution of 1970, I must respectfully dissent.
